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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

       v.                                               Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                    Defendant.


     PRESIDENT TRUMP’S OPPOSED MOTION TO STAY CASE PENDING
 RESOLUTION OF MOTION TO DISMISS BASED ON PRESIDENTIAL IMMUNITY
        President Donald J. Trump respectfully requests that this Court stay all proceedings in this

case until the issues raised in his Motion to Dismiss the Indictment Based on Presidential

Immunity, Doc. 74, are fully resolved.

        The Supreme Court has “repeatedly … stressed the importance of resolving immunity

questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991)

(citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); Davis v. Scherer, 468 U.S. 183, 195

(1984); Mitchell v. Forsyth, 472 U.S. 511, 526 (1985); Malley v. Briggs, 475 U.S. 335, 341 (1986);

Anderson v. Creighton, 483 U.S. 635, 646, n. 6 (1987)); see also Pearson v. Callahan, 555 U.S.

223, 232 (2009); Bernier v. Allen, 38 F.4th 1145, 1152 (D.C. Cir. 2022); Loumiet v. United States,

315 F. Supp. 3d 349, 351-52 (D.D.C. 2018). Because official immunity is “an immunity from suit

rather than a mere defense to liability ... it is effectively lost if a case is erroneously permitted to

go to trial.” Pearson, 555 U.S. at 231 (quoting Mitchell, 472 U.S. at 526).

        For this reason, substantial claims of immunity should be “resolved prior to discovery.”

Id. (quoting Anderson, 483 U.S. at 640, n. 2). “Immunity ordinarily should be decided by the court

long before trial.” Hunter, 502 U.S. at 228. That is because immunity is “an entitlement not to

stand trial or face the other burdens of litigation.” Mitchell, 472 U.S. at 526 (emphasis added);


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see also Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009) (“The basic thrust of the qualified-immunity

doctrine is to free officials from the concerns of litigation, including ‘avoidance of disruptive

discovery.’”) (citation omitted). Immunity doctrines such as Presidential, judicial, and legislative

immunity are designed to protect public officials “not only from the consequences of litigation’s

results but also from the burden of defending themselves.” Helstoski v. Meanor, 442 U.S. 500,

507–08 (1979) (quoting Dombrowski v. Eastland, 387 U.S. 82, 85 (1967)). An official immunity

“defense entitles government officials ‘not merely to avoid standing trial, but also to avoid the

burdens of such pretrial matters as discovery . . . as inquiries of this kind can be particularly

disruptive of effective government.’” Wuterich v. Murtha, 562 F.3d 375, 382 (D.C. Cir. 2009)

(square brackets omitted) (quoting Behrens v. Pelletier, 516 U.S. 299, 308 (1996) (alterations in

original) (internal quotation marks and citations omitted)). “This principle has even stronger force

in the present case,” since Presidential immunity “confers absolute, not merely qualified,

immunity….” Id.

       Here, President Trump has moved to dismiss based on his absolute immunity from criminal

prosecution for acts within the outer perimeter of his Presidential responsibilities. Doc. 74 (the

“Immunity Motion”). The prosecution has submitted its response, Doc. 109, and President Trump

has replied, Doc. 122. The Court has not set oral argument. The Immunity Motion is therefore

fully briefed and ripe for determination; however, the Court has not indicated when it intends to

issue an order.

       As President Trump should not be required to endure “the burden of defending [himself],”

Helstoski, 442 U.S. at 507–08, or the “other burdens of litigation,” Mitchell, 472 U.S. at 526,

“[u]ntil this threshold immunity question is resolved,” Harlow, 457 U.S. at 818, the Court should

stay this matter, including all applicable deadlines, pending resolution of the Immunity Motion.




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                                       CONCLUSION

       President Trump respectfully requests that the Court stay all proceedings in this case

pending resolution of his Immunity Motion.



                             CERTIFICATE OF CONFERRAL

       Counsel for President Trump conferred with counsel for the prosecution, who advise the

government opposes the relief requested herein.



 Dated: November 1, 2023                              Respectfully submitted,


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